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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


                                                                  Chapter 11
    In re:
                                                                  Case No. 18-31274 (MI)

    IHEARTMEDIA, INC., et al.,                                    (Joint Administration Requested)

                                     Debtors.1


                                         AFFIDAVIT OF SERVICE

       I, Robert J. Rubel, depose and say that I am employed by Prime Clerk LLC (“Prime
Clerk”), the proposed claims, noticing and solicitation agent for the Debtors in the above-captioned
chapter 11 cases.

       On March 15, 2018, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served by the method set forth on the Agenda Master
Service List attached hereto as Exhibit A:

            Request for Emergency Consideration of Certain “First Day” Matters [Docket No. 26]

            Notice of Agenda for Hearing on First Day Motions Scheduled for March 15, 2018, at
             2:00 p.m. (prevailing Central Time), Before the Honorable Marvin Isgur at the United
             States Bankruptcy Court for the Southern District of Texas, at Courtroom 404, 515 Rusk
             Street, Houston, Texas 77002 [Docket No. 29]

       On March 15, 2018, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served via Email on the First Day Master Service List
attached hereto as Exhibit B:

            Debtors' Emergency Motion Seeking Entry of an Order (I) Directing Joint Administration
             of the Chapter 11 Cases and (II) Granting Related Relief [Docket No. 2]

            Notice of Designation as Complex Chapter 11 Bankruptcy Case [Docket No. 3]

1
 Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been requested, a
complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
provided herein. A complete list of such information may be obtained on the website of the Debtors’ proposed
claims and noticing agent at https://cases.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia, Inc.’s
principal place of business and the Debtors’ service address is: 20880 Stone Oak Parkway, San Antonio, Texas
78258.
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   Debtors' Emergency Motion for Entry of an Order (I) Extending Time to File (A)
    Schedules of Assets and Liabilities, (B) Schedules of Current Income and Expenditures,
    (C) Schedules of Executory Contracts and Unexpired Leases, (D) Statements of Financial
    Affairs, and (E) Rule 2015.3 Financial Reports, (II) Waiving the Requirement to File a
    List of Equity Security Holders, and (III) Granting Related Relief [Docket No. 4]

   Debtors' Emergency Motion for Entry of an Order (A) Authorizing the Debtors to File a
    Consolidated List of Creditors and a Consolidated List of the 30 Largest Unsecured
    Creditors, (II) Authorizing the Debtors to Redact Certain Personal Identification
    Information, (III) Approving the Form and Manner of Notifying Creditors of the
    Commencement of These Chapter 11 Cases, and (IV) Granting Related Relief
    [Docket No. 5]

   Debtors' Emergency Motion for Entry of an Order (I) Approving Continuation of the
    Surety Bond Program and (II) Granting Related Relief [Docket No. 6]

   Debtors' Emergency Motion for Entry of an Order (I) Approving the Debtors' Proposed
    Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting Utility
    Providers from Altering, Refusing, or Discontinuing Services, (III) Approving the
    Debtors' Proposed Procedures for Resolving Additional Assurance Requests, and (IV)
    Granting Related Relief [Docket No. 7]

   Debtors' Emergency Motion for Entry of an Order (I) Authorizing the Payment of Certain
    Taxes and Fees and (II) Granting Related Relief [Docket No. 8]

   Debtors' Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the
    Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation, and Reimbursable
    Expenses and (B) Continue Employee Benefits Programs and (II) Granting Related
    Relief [Docket No. 9]

   Debtors' Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the
    Debtors to Pay or Honor Prepetition Claims and Obligations of On-Air Talent, Station
    Affiliates, and Copyright Owners and (II) Granting Related Relief [Docket No. 10]

   Debtors' Emergency Motion for Entry of an Order (I) Authorizing the Debtors to (A)
    Continue Their Prepetition Insurance Coverage and Satisfy Prepetition Obligations
    Related Thereto and (B) Renew, Supplement, and Enter into New Insurance Policies and
    (II) Granting Related Relief [Docket No. 11]

   Debtors' Emergency Motion for Entry of Interim and Final Orders Approving
    Notification and Hearing Procedures for Certain Transfers of and Declarations of
    Worthlessness with Respect to Stock [Docket No. 12]




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                           Exhibit A
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                                                                                                                                Exhibit A
                                                                                                                         Agenda Master Service List
                                                                                                                          Served as set forth below


                                      DESCRIPTION                                                 NAME                                            ADDRESS                              FAX                          EMAIL                      METHOD OF SERVICE
                                                                                                                 Attn: Bill Feichtmann, Alexis van de Wyer
                                                                                                                 487 A S El Camino Real
Top 30 Creditor                                                                Adswizz                           San Mateo CA 94402                                                               Bill.feichtmann@adswizz.com            Email
                                                                                                                 Attn: Neal Schore
                                                                                                                 15303 Ventura Boulevard # 1500
Top 30 Creditor                                                                Ando Media LLC                    Sherman Oaks CA 91403                                             818-990-0930   brendan.collins@tritondigital.com      Fax and Email
                                                                                                                 Attn: Robin Russell, Timothy A. Davidson II, & Ashley L. Harper                  rrussell@andrewskurth.com
Counsel to Wilmington Savings Fund Society, FSB, as successor indenture                                          600 Travis, Suite 4200                                                           taddavidson@andrewskurth.com
trustee                                                                        Andrews Kurth Kenyon LLP          Houston TX 77002                                                  713-220-4285   ashleyharper@andrewskurth.com          Fax and Email
                                                                                                                 Michael Messersmith and Sarah Gryll
                                                                                                                 70 West Madison Street
Counsel to an ad hoc group of lenders under the Debtors’ term loan credit                                        Suite 4200                                                                       michael.messersmith@arnoldporter.com
facility                                                                       Arnold Porter Kay Scholer         Chicago IL 60602-4231                                             312-583-2360   sarah.gryll@arnoldporter.com           Fax and Email
                                                                                                                 Attn: Elizabeth Matthews
                                                                                                                 21678 Network Pl
Top 30 Creditor                                                                ASCAP                             Chicago IL 60673                                                  212-621-8453                                          Fax
                                                                                                                 Attn: Elizabeth Matthews
                                                                                                                 21678 Network Pl
Top 30 Creditor                                                                ASCAP                             Chicago IL 60673                                                                 rnapakh@ascap.com                      Email
                                                                                                                 Attn: Caroline Beasley
                                                                                                                 3033 Riviera Dr Ste 200
Top 30 Creditor                                                                Beasley Broadcast Group           Naples FL 34103                                                   239-263-8191                                          Fax

Indenture trustees for the Debtors’ priority guarantee notes, 14.0% senior notes
due 2021, 6.875% senior notes due 2018, and 7.25% senior notes due 2027,
6.875% Senior Note - 2018, Indenture trustees for the Debtors’ priority                                          Attn: Moses Ballenger
guarantee notes, 14.0% senior notes due 2021, 6.875% senior notes due 2018,                                      601 Travis Street, 16th Floor Houston
and 7.25% senior notes due 2027, 7.25% Senior Note - 2027, Top 30 Creditor       BNY Mellon                      Houston TX 77002                                                  713-483-6979   mosestidwell.ballenger@bnymellon.com   Fax and Email
                                                                                                                 Attn: Michael O'Neill
                                                                                                                 10 Music Square East
Top 30 Creditor                                                                Broadcast Music Inc.              Nashville TN 37203-4399                                                          srosen@bmi.com                         Email
                                                                                                                 Attn: Legal Department
                                                                                                                 51 W. 52nd Street
Top 30 Creditor                                                                CBS                               New York NY 10019                                                 212-975-4215                                          Fax
                                                                                                                 Attn: Leslie Moonves
                                                                                                                 1271 Avenue of the Americas
                                                                                                                 44th Floor
Top 30 Creditor                                                                CBS                               New York NY 10020                                                 212-846-2790                                          Fax
                                                                                                                 Attn: Kirkwood R. Roland
                                                                                                                 390 Greenwich St, 1st Floor
Agent for the Debtors’ term loan credit facility                               Citibank, N.A.                    New York NY 10013                                                                kirkwood.roland@citi.com               Email
                                                                                                                 Attn: James C. Kennedy
                                                                                                                 2445 Baltimore Blvd
Top 30 Creditor                                                                Cox Enterprises, Inc.             Finksburg MD 21048                                                678-645-5002                                          Fax
Top 30 Creditor                                                                Creditor 1                        Address on File                                                                  Email on File                          Email
Top 30 Creditor                                                                Creditor 2                        Address on File                                                                  Email on File                          Email
Top 30 Creditor                                                                Creditor 3                        Address on File                                                                  Email on File                          Email
                                                                                                                 Attn: Mary G. Berner
                                                                                                                 3280 Peachtree Rd NW
Top 30 Creditor                                                                Cumulus Media, Inc.               Atlanta GA 30305                                                  404-949-0740                                          Fax
                                                                                                                 ATTN: BANKRUPTCY DIVISION
ENVIRONMENTAL PROTECTION AGENCY (TEXAS/LOUISIANA/OKLAHOMA) -                                                     1445 ROSS AVENUE STE 1200
REGION 6                                                                       ENVIRONMENTAL PROTECTION AGENCY   DALLAS TX 75202                                                   214-665-2146                                          Fax
                                                                                                                 Attn: Daniel Anstandig
                                                                                                                 4141 Rockside Rd Ste 300
Top 30 Creditor                                                                Futuri Media                      Seven Hills OH 44131                                                             info@futurimedia.com                   Email




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                                                                                                                                   Exhibit A
                                                                                                                            Agenda Master Service List
                                                                                                                             Served as set forth below


                                      DESCRIPTION                                                    NAME                                           ADDRESS                               FAX                         EMAIL                  METHOD OF SERVICE
                                                                                                                    Robert Klyman
                                                                                                                    333 South Grand Avenue
Counsel to an ad hoc group of holders of 14.0% senior notes due 2021          Gibson Dunn and Crutcher LLP          Los Angeles CA 90071-3197                                         213-229-6562   rklyman@gibsondunn.com            Fax and Email
                                                                                                                    Attn: Irving Azoff
                                                                                                                    1100 Glendon Ave Ste 2000
Top 30 Creditor                                                               Global Music Rights                   Los Angeles CA 90024                                                             susan@globalmusicrights.com       Email
                                                                                                                    Attn: Dan Seeman
                                                                                                                    225 South Sixth Street
                                                                                                                    Suite 3500
Top 30 Creditor                                                               Hubbard Broadcasting                  Minneapolis MN 55402                                              651-647-2932                                     Fax
                                                                                                                    Attn: Gary Perlman
                                                                                                                    107 Elm St
                                                                                                                    4 Stamford Plaza
Top 30 Creditor                                                               Icon International Inc                Stamford CT 06902                                                 203-328-2333                                     Fax
                                                                                                                    CENTRALIZED INSOLVENCY OPERATION
                                                                                                                    2970 MARKET STREET
IRS INSOLVENCY SECTION                                                        INTERNAL REVENUE SERVICE              PHILADELPHIA PA 19104-5016                                        855-235-6787                                     Fax
                                                                                                                    CENTRALIZED INSOLVENCY OPERATION
                                                                                                                    P.O. BOX 7346
IRS INSOLVENCY SECTION                                                        INTERNAL REVENUE SERVICE              PHILADELPHIA PA 19101-7346                                        855-235-6787                                     Fax
                                                                                                                    Bruce Bennett, Joshua Mester, James Johnston
                                                                                                                    555 South Flower Street                                                          jmester@jonesday.com
Counsel to an ad hoc group of lenders under the Debtors’ term loan credit                                           Fiftieth Floor                                                                   jjohnston@jonesday.com
facility and priority guarantee noteholders                                   Jones Day                             Los Angeles CA 90071                                              213-243-2539   bbennett@jonesday.com             Fax and Email
                                                                                                                    Attn: Christopher J. Marcus, P.C
                                                                                                                    601 Lexington Avenue
CO-COUNSEL TO DEBTOR                                                          Kirkland & Ellis LLP                  New York NY 10022                                                                christopher.marcus@kirkland.com   Email
                                                                                                                    Attn: James H.M. Sprayregen, P.C., Anup Sathy, P.C., William A.                  james.sprayregen@kirkland.com
                                                                                                                    Guerrieri, Brian D. Wolfe                                                        anup.sathy@kirkland.com
                                                                                                                    300 North LaSalle Street                                                         will.guerrieri@kirkland.com
CO-COUNSEL TO DEBTOR                                                             Kirkland & Ellis LLP               Chicago IL 60654                                                                 brian.wolfe@kirkland.com          Email
Indenture trustees for the Debtors’ priority guarantee notes, 14.0% senior notes                                    Attn: James Heaney
due 2021, 6.875% senior notes due 2018, and 7.25% senior notes due 2027,                                            400 Madison Avenue
14% Senior Note - 2021                                                           Law Debenture Trust Company        New York NY 10017                                                 212-750-1361   james.Heaney@LAWDEB.com           Fax and Email
                                                                                                                    Attn: Carol Hanley, Mitch Barnes
                                                                                                                    85 Broad St
Top 30 Creditor                                                               Nielsen                               New York NY 10004                                                 212-887-1375                                     Fax
                                                                                                                    ATTN: STEPHEN STATHAM
                                                                                                                    515 RUSK AVE
                                                                                                                    SUITE 3516
UNITED STATES TRUSTEE SOUTHERN DISTRICT OF TEXAS                              OFFICE OF THE UNITED STATES TRUSTEE   HOUSTON TX 77002                                                  713-718-4670 STEPHEN.STATHAM@USDOJ.GOV           Fax and Email
                                                                                                                    Attn: Seth H. Lieberman, Patrick Sibley, & Matthew W. Silverman                slieberman@pryorcashman.com
Counsel to Wilmington Savings Fund Society, FSB, as successor indenture                                             7 Times Square                                                                 psibley@pryorcashman.com
trustee                                                                       Pryor Cashman LLP                     New York NY 10036                                                 212-326-0806 msilverman@pryorcashman.com         Fax and Email
                                                                                                                    Attn: Craig Wallace
                                                                                                                    2214 Queen Anne Ave N
Top 30 Creditor                                                               ReelWorld Productions Inc             Seattle WA 98109                                                                 craig.wallace@reelworld.com       Email
                                                                                                                    Attn: Marc Benioff
                                                                                                                    The Landmark at One Market
                                                                                                                    Suite 300
Top 30 Creditor                                                               Salesforce Com Inc                    San Francisco CA 94105                                            415-901-7040                                     Fax
                                                                                                                    SECRETARY OF THE TREASURY
                                                                                                                    100 F ST NE                                                                      SECBANKRUPTCY@SEC.GOV
SECURITIES AND EXCHANGE COMMISSION - HEADQUARTERS                             SECURITIES & EXCHANGE COMMISSION      WASHINGTON DC 20549                                                              NYROBANKRUPTCY@SEC.GOV            Email




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                                                                                                          Agenda Master Service List
                                                                                                           Served as set forth below


                                      DESCRIPTION                              NAME                                                 ADDRESS          FAX                            EMAIL               METHOD OF SERVICE
                                                                                                   DAVID WOODCOCK REGIONAL DIRECTOR
                                                                                                   BURNETT PLAZA
                                                           SECURITIES & EXCHANGE COMMISSION -      801 CHERRY ST STE 1900 UNIT 18
SECURITIES AND EXCHANGE COMMISSION - REGIONAL OFFICE       FORT WORTH OFFICE                       FORT WORTH TX 76102                                          DFW@SEC.GOV                       Email
                                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                                   BROOKFIELD PLACE
                                                           SECURITIES & EXCHANGE COMMISSION -      200 VESEY STREET STE 400
SECURITIES AND EXCHANGE COMMISSION - REGIONAL OFFICE       NY OFFICE                               NEW YORK NY 10281-1022                                       BANKRUPTCYNOTICESCHR@SEC.GOV      Email
                                                                                                   Attn: Michael Huppe, Royalty Administration
                                                                                                   733 10th St NW FL10
Top 30 Creditor                                            SoundExchange Inc                       Washington DC 20001-4888                      202-640-5859                                     Fax
                                                                                                   Attn: Horacio Gutierrez
                                                                                                   45 W. 18th Street
                                                                                                   7th Floor
Top 30 Creditor                                            Spotify USA, Inc.                       New York NY 10011                                            legal@spotify.com                 Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   P.O. Box 300152
State of Alabama Attorney General                          State of Alabama Attorney General       Montgomery AL 36130-0152                      334-242-2433                                     Fax
                                                                                                   Attention Bankruptcy Dept
                                                                                                   P.O. Box 110300
State of Alaska Attorney General                           State of Alaska Attorney General        Juneau AK 99811-0300                          907-465-2075   attorney.general@alaska.gov       Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   1275 W. Washington St.
State of Arizona Attorney General                          State of Arizona Attorney General       Phoenix AZ 85007                              602-542-4085   aginfo@azag.gov                   Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   323 Center St.
                                                                                                   Suite 200
State of Arkansas Attorney General                         State of Arkansas Attorney General      Little Rock AR 72201-2610                     501-682-8084                                     Fax
                                                                                                   Attention Bankruptcy Dept
                                                                                                   P.O. Box 944255
State of California Attorney General                       State of California Attorney General    Sacramento CA 94244-2550                      916-323-5341   bankruptcy@coag.gov               Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   Ralph L. Carr Colorado Judicial Center
                                                                                                   1300 Broadway, 10th Floor
State of Colorado Attorney General                         State of Colorado Attorney General      Denver CO 80203                               720-508-6030   Attorney.General@state.co.us      Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   55 Elm St.
State of Connecticut Attorney General                      State of Connecticut Attorney General   Hartford CT 06106                             860-808-5387   attorney.general@po.state.ct.us   Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   Carvel State Office Bldg.
                                                                                                   820 N. French St.
State of Delaware Attorney General                         State of Delaware Attorney General      Wilmington DE 19801                           302-577-6630   Attorney.General@state.DE.US      Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   The Capitol, PL 01
State of Florida Attorney General                          State of Florida Attorney General       Tallahassee FL 32399-1050                     850-488-4872                                     Fax
                                                                                                   Attention Bankruptcy Dept
                                                                                                   40 Capital Square, SW
State of Georgia Attorney General                          State of Georgia Attorney General       Atlanta GA 30334-1300                         404-657-8733   AGOlens@law.ga.gov                Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   425 Queen St.
State of Hawaii Attorney General                           State of Hawaii Attorney General        Honolulu HI 96813                             808-586-1239   hawaiiag@hawaii.gov               Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   700 W. Jefferson Street
                                                                                                   P.O. Box 83720
State of Idaho Attorney General                            State of Idaho Attorney General         Boise ID 83720-1000                           208-854-8071                                     Fax




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                                                                                                          Agenda Master Service List
                                                                                                           Served as set forth below


                                       DESCRIPTION                          NAME                                                  ADDRESS       FAX                           EMAIL              METHOD OF SERVICE
                                                                                                   Attention Bankruptcy Dept
                                                                                                   100 West Randolph Street
State of Illinois Attorney General                       State of Illinois Attorney General        Chicago IL 60601                                        webmaster@atg.state.il.us         Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   Indiana Government Center South
                                                                                                   302 W. Washington St., 5th Floor
State of Indiana Attorney General                        State of Indiana Attorney General         Indianapolis IN 46204                    317-232-7979   Constituent@atg.in.gov            Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   1305 E. Walnut Street
State of Iowa Attorney General                           State of Iowa Attorney General            Des Moines IA 50319                      515-281-4209   webteam@ag.state.ia.us            Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   120 SW 10th Ave., 2nd Floor
State of Kansas Attorney General                         State of Kansas Attorney General          Topeka KS 66612-1597                     785 296-6296   general@ksag.org                  Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   700 Capitol Avenue, Suite 118
State of Kentucky Attorney General                       State of Kentucky Attorney General        Frankfort KY 40601                       502-564-2894   web@ag.ky.gov                     Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   P.O. Box 94095
State of Louisiana Attorney General                      State of Louisiana Attorney General       Baton Rouge LA 70804-4095                225-326-6499   ConsumerInfo@ag.state.la.us       Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   6 State House Station
State of Maine Attorney General                          State of Maine Attorney General           Augusta ME 04333-0000                                   consumer.mediation@maine.gov      Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   200 St. Paul Place
State of Maryland Attorney General                       State of Maryland Attorney General        Baltimore MD 21202-2202                                 oag@oag.state.md.us               Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   One Ashburton Place
State of Massachusetts Attorney General                  State of Massachusetts Attorney General   Boston MA 02108-1698                                    ago@state.ma.us                   Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   G. Mennen Williams Building, 7th Floor
                                                                                                   525 W. Ottawa St., P.O. Box 30212
State of Michigan Attorney General                       State of Michigan Attorney General        Lansing MI 48909-0212                    517 373-3042   miag@michigan.gov                 Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   1400 Bremer Tower
                                                                                                   445 Minnesota Street
State of Minnesota Attorney General                      State of Minnesota Attorney General       St. Paul MN 55101-2131                                  Attorney.General@ag.state.mn.us   Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   Supreme Court Building
                                                                                                   207 W. High St.
State of Missouri Attorney General                       State of Missouri Attorney General        Jefferson City MO 65102                  573-751-0774   attorney.general@ago.mo.gov       Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   215 N Sanders, Third Floor
                                                                                                   PO Box 201401
State of Montana Attorney General                        State of Montana Attorney General         Helena MT 59620-1401                     406 444-3549   contactdoj@mt.gov                 Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   2115 State Capitol
                                                                                                   2nd Fl, Rm 2115
State of Nebraska Attorney General                       State of Nebraska Attorney General        Lincoln NE 68509-8920                    402 471-3297   ago.info.help@nebraska.gov        Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   100 North Carson Street
State of Nevada Attorney General                         State of Nevada Attorney General          Carson City NV 89701                     775 684-1108   AgInfo@ag.nv.gov                  Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   33 Capitol St.
State of New Hampshire Attorney General                  State of New Hampshire Attorney General   Concord NH 03301-0000                    603-271-2110   attorneygeneral@doj.nh.gov        Fax and Email




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                                                                                                           Agenda Master Service List
                                                                                                            Served as set forth below


                                      DESCRIPTION                         NAME                                                      ADDRESS       FAX                          EMAIL                    METHOD OF SERVICE
                                                                                                   Attention Bankruptcy Dept
                                                                                                   RJ Hughes Justice Complex
                                                                                                   25 Market Street, P.O. Box 080
State of New Jersey Attorney General                    State of New Jersey Attorney General       Trenton NJ 08625-0080                      609-292-3508   askconsumeraffairs@lps.state.nj.us   Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   P.O. Drawer 1508
State of New Mexico Attorney General                    State of New Mexico Attorney General       Santa Fe NM 87504-1508                     505 827-5826   publicinformationoff@nmag.gov        Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   The Capitol
State of New York Attorney General                      State of New York Attorney General         Albany NY 12224-0341                       866-413-1069                                        Fax
                                                                                                   Attention Bankruptcy Dept
                                                                                                   9001 Mail Service Center
State of North Carolina Attorney General                State of North Carolina Attorney General   Raleigh NC 27699-9001                      919 716-6750                                        Fax
                                                                                                   Attention Bankruptcy Dept
                                                                                                   State Capitol
                                                                                                   600 E Boulevard Ave Dept 125
State of North Dakota Attorney General                  State of North Dakota Attorney General     Bismarck ND 58505-0040                     701-328-2226   ndag@nd.gov                          Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   30 E. Broad St., 14th Floor
State of Ohio Attorney General                          State of Ohio Attorney General             Columbus OH 43215                          614-466-3813                                        Fax
                                                                                                   Attention Bankruptcy Dept
                                                                                                   313 NE 21st Street
State of Oklahoma Attorney General                      State of Oklahoma Attorney General         Oklahoma City OK 73105                     405 521-6246                                        Fax
                                                                                                   Attention Bankruptcy Dept
                                                                                                   1162 Court Street NE
State of Oregon Attorney General                        State of Oregon Attorney General           Salem OR 97301                             503 378-4017   consumer.hotline@doj.state.or.us     Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   Strawberry Square
                                                                                                   16th Floor
State of Pennsylvania Attorney General                  State of Pennsylvania Attorney General     Harrisburg PA 17120                        717-787-3391                                        Fax
                                                                                                   Attention Bankruptcy Dept
                                                                                                   P.O. Box 11549
State of South Carolina Attorney General                State of South Carolina Attorney General   Columbia SC 29211-1549                                    info@scattorneygeneral.com           Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   1302 East Highway 14
                                                                                                   Suite 1
State of South Dakota Attorney General                  State of South Dakota Attorney General     Pierre SD 57501-8501                       605-773-4106   consumerhelp@state.sd.us             Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   P.O. Box 20207
State of Tennessee Attorney General                     State of Tennessee Attorney General        Nashville TN 37202-0207                    615 741-2009   consumer.affairs@tn.gov              Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   Capitol Station
                                                                                                   PO Box 12548
State of Texas Attorney General                         State of Texas Attorney General            Austin TX 78711-2548                       512-475-2994   public.information@oag.state.tx.us   Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   PO Box 142320
State of Utah Attorney General                          State of Utah Attorney General             Salt Lake City UT 84114-2320               801 538-1121   uag@utah.gov                         Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   109 State St.
State of Vermont Attorney General                       State of Vermont Attorney General          Montpelier VT 05609-1001                   802-304-1014   ago.info@state.vt.us                 Fax and Email
                                                                                                   Attention Bankruptcy Dept
                                                                                                   900 East Main Street
State of Virginia Attorney General                      State of Virginia Attorney General         Richmond VA 23219                          804-225-4378                                        Fax
                                                                                                   Attention Bankruptcy Dept
                                                                                                   State Capitol Bldg 1 Room E 26
State of West Virginia Attorney General                 State of West Virginia Attorney General    Charleston WV 25305                        304-558-0140   consumer@wvago.gov                   Fax and Email




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                                                                                                                           Agenda Master Service List
                                                                                                                            Served as set forth below


                                      DESCRIPTION                                           NAME                                                 ADDRESS                            FAX                         EMAIL                METHOD OF SERVICE
                                                                                                                Attention Bankruptcy Dept
                                                                                                                Wisconsin Department of Justice
                                                                                                                State Capitol, Room 114 East, P. O. Box 7857
State of Wisconsin Attorney General                                         State of Wisconsin Attorney General Madison WI 53707-7857                                           608-267-2779                                   Fax
                                                                                                                Attention Bankruptcy Dept
                                                                                                                123 Capitol Building
                                                                                                                200 W. 24th Street
State of Wyoming Attorney General                                           State of Wyoming Attorney General   Cheyenne WY 82002                                               307 777-6869   baylwa@state.wy.us              Fax and Email
                                                                                                                Attn: Roger C. Fray
                                                                                                                1315 S International Pkwy, Ste 1131
Top 30 Creditor                                                             Sun & Fun Media                     Lake Mary FL 32746                                                             roger@sunfunmedia.com           Email
                                                                                                                Attn: Senior Legal Counsel
                                                                                                                11 Lafayette St
Top 30 Creditor                                                             TomTom North America Inc            Lebanon NH 03766-1445                                           603-653-0249                                   Fax
                                                                                                                Attn: Alex Kneapler
                                                                                                                888 7th Ave, 35th Floor
Agent for the Debtors’ Receivables Based Credit Facility                    TPG Specialty Lending, Inc.         New York NY 10106                                                              AKneapler@tpg.com               Email
                                                                                                                ATTN: KENNETH MAGIDSON
                                                                                                                ONE SHORELINE PLAZA SOUTH TOWER
                                                                            UNITED STATES ATTORNEY FOR SOUTHERN 800 N SHORELINE BLVD STE 500
UNITED STATES ATTORNEY FOR THE SOUTHERN DISTRICT OF TEXAS                   DISTRICT OF TEXAS                   CORPUS CHRISTI TX 78401                                         713-718-3300   USATXS.ATTY@USDOJ.GOV           Fax and Email
                                                                                                                Attn: Lucian Grainge
                                                                                                                825 8th Ave 28th Floor
Top 30 Creditor                                                             Universal Music Group Inc           New York NY 10019                                               310-865-7096   lucian.grainge@umusic.com       Fax and Email
                                                                                                                Attn: Jonathan Schwartz
                                                                                                                5801 Truxtun Ave
Top 30 Creditor                                                             Univision Communications, Inc.      Bakersfield CA 93309                                            646-964-6681                                   Fax
                                                                                                                Attn: Alfred C. Liggins, III
                                                                                                                1010 Wayne Ave 14th Fl
Top 30 Creditor                                                             Urban One Inc.                      Silver Spring MD 20910                                                         fmiles@urban1.com               Email
                                                                                                                Attn: President or General Counsel
                                                                                                                750 Park of Commerce Drive
Top 30 Creditor                                                             Vertical Bridge Acquisitions, LLC   Boca Raton FL 33487                                                            ghess@verticalbridge.com        Email
                                                                                                                Attn: Stephen F. Cooper
                                                                                                                3400 W Olive Ave
Top 30 Creditor                                                             Warner Music Group Services         Burbank CA 91505                                                               steve.cooper@wmg.com            Email
                                                                                                                Attention Bankruptcy Dept
                                                                                                                441 4th Street, NW
Washington DC Attorney General                                              Washington DC Attorney General      Washington DC 20001                                             202 347-8922   dc.oag@dc.gov                   Fax and Email
                                                                                                                Attn: Matt Barr
                                                                                                                767 Fifth Avenue
Counsel to Equity Holders                                                   Weil, Gotshal & Manges LLP          New York NY 10153-0119                                                         matt.barr@weil.com              Email
                                                                                                                Thomas Lauria and Harrison Denman
Counsel to an ad hoc group of holders of 6.875% senior notes due 2018 and                                       1221 Avenue of the Americas                                                    tlauria@whitecase.com
7.25% senior notes due 2027                                                 White & Case LLP                    New York NY 10020-1095                                          305-878-2034   hdenman@whitecase.com           Fax and Email
                                                                                                                Attn: J. Christopher Shore, Harrison Denman, & Michele Meises                  cshore@whitecase.com
Counsel to Wilmington Savings Fund Society, FSB, as successor indenture                                         1221 Avenue of the Americas                                                    harrison.denman@whitecase.com
trustee                                                                     White & Case LLP                    New York NY 10020                                               212-354-8113   michele.meises@whitecase.com    Fax and Email
                                                                                                                Attn: Thomas E. Lauria & Jason Zakia
                                                                                                                Southeast Financial Center, Suite 4900
Counsel to Wilmington Savings Fund Society, FSB, as successor indenture                                         200 South Biscayne Blvd                                                        tlauria@whitecase.com
trustee                                                                     White & Case LLP                    Miami FL 33131                                                  305-358-5744   jzakia@whitecase.com            Fax and Email




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           Case No. 18-31274 (MI)                                                                                                  Page 6 of 6
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                            Exhibit B
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                                                                                                                  Exhibit B
                                                                                                          First Day Master Service List
                                                                                                                 Served via Email

                                       DESCRIPTION                                                 NAME                                                     ADDRESS                                             EMAIL
                                                                                                                            Attn: Bill Feichtmann, Alexis van de Wyer
                                                                                                                            487 A S El Camino Real
Top 30 Creditor                                                             Adswizz                                         San Mateo CA 94402                                                Bill.feichtmann@adswizz.com
                                                                                                                            Attn: Neal Schore
                                                                                                                            15303 Ventura Boulevard # 1500
Top 30 Creditor                                                             Ando Media LLC                                  Sherman Oaks CA 91403                                             brendan.collins@tritondigital.com
                                                                                                                            Attn: Robin Russell, Timothy A. Davidson II, & Ashley L. Harper   rrussell@andrewskurth.com
Counsel to Wilmington Savings Fund Society, FSB, as successor indenture                                                     600 Travis, Suite 4200                                            taddavidson@andrewskurth.com
trustee                                                                     Andrews Kurth Kenyon LLP                        Houston TX 77002                                                  ashleyharper@andrewskurth.com
                                                                                                                            Michael Messersmith and Sarah Gryll
                                                                                                                            70 West Madison Street
Counsel to an ad hoc group of lenders under the Debtors’ term loan credit                                                   Suite 4200                                                        michael.messersmith@arnoldporter.com
facility                                                                    Arnold Porter Kay Scholer                       Chicago IL 60602-4231                                             sarah.gryll@arnoldporter.com
                                                                                                                            Attn: Elizabeth Matthews
                                                                                                                            21678 Network Pl
Top 30 Creditor                                                             ASCAP                                           Chicago IL 60673                                                  rnapakh@ascap.com

Indenture trustees for the Debtors’ priority guarantee notes, 14.0% senior
notes due 2021, 6.875% senior notes due 2018, and 7.25% senior notes due
2027, 6.875% Senior Note - 2018, Indenture trustees for the Debtors’ priority                                               Attn: Moses Ballenger
guarantee notes, 14.0% senior notes due 2021, 6.875% senior notes due 2018,                                                 601 Travis Street, 16th Floor Houston
and 7.25% senior notes due 2027, 7.25% Senior Note - 2027, Top 30 Creditor    BNY Mellon                                    Houston TX 77002                                                  mosestidwell.ballenger@bnymellon.com
                                                                                                                            Attn: Michael O'Neill
                                                                                                                            10 Music Square East
Top 30 Creditor                                                             Broadcast Music Inc.                            Nashville TN 37203-4399                                           srosen@bmi.com
                                                                                                                            Attn: Kirkwood R. Roland
                                                                                                                            390 Greenwich St, 1st Floor
Agent for the Debtors’ term loan credit facility                            Citibank, N.A.                                  New York NY 10013                                                 kirkwood.roland@citi.com
Top 30 Creditor                                                             Creditor 1                                      Address on File                                                   Email on File
Top 30 Creditor                                                             Creditor 2                                      Address on File                                                   Email on File
Top 30 Creditor                                                             Creditor 3                                      Address on File                                                   Email on File
                                                                                                                            Attn: Daniel Anstandig
                                                                                                                            4141 Rockside Rd Ste 300
Top 30 Creditor                                                             Futuri Media                                    Seven Hills OH 44131                                              info@futurimedia.com
                                                                                                                            Robert Klyman
                                                                                                                            333 South Grand Avenue
Counsel to an ad hoc group of holders of 14.0% senior notes due 2021        Gibson Dunn and Crutcher LLP                    Los Angeles CA 90071-3197                                         rklyman@gibsondunn.com
                                                                                                                            Attn: Irving Azoff
                                                                                                                            1100 Glendon Ave Ste 2000
Top 30 Creditor                                                             Global Music Rights                             Los Angeles CA 90024                                              susan@globalmusicrights.com
                                                                                                                            Bruce Bennett, Joshua Mester, James Johnston
                                                                                                                            555 South Flower Street                                           jmester@jonesday.com
Counsel to an ad hoc group of lenders under the Debtors’ term loan credit                                                   Fiftieth Floor                                                    jjohnston@jonesday.com
facility and priority guarantee noteholders                                 Jones Day                                       Los Angeles CA 90071                                              bbennett@jonesday.com
                                                                                                                            Attn: Christopher J. Marcus, P.C
                                                                                                                            601 Lexington Avenue
CO-COUNSEL TO DEBTOR                                                        Kirkland & Ellis LLP                            New York NY 10022                                                 christopher.marcus@kirkland.com




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                                       DESCRIPTION                                                  NAME                                                      ADDRESS                                              EMAIL
                                                                                                                             Attn: James H.M. Sprayregen, P.C., Anup Sathy, P.C., William A.   james.sprayregen@kirkland.com
                                                                                                                             Guerrieri, Brian D. Wolfe                                         anup.sathy@kirkland.com
                                                                                                                             300 North LaSalle Street                                          will.guerrieri@kirkland.com
CO-COUNSEL TO DEBTOR                                                         Kirkland & Ellis LLP                            Chicago IL 60654                                                  brian.wolfe@kirkland.com
Indenture trustees for the Debtors’ priority guarantee notes, 14.0% senior                                                   Attn: James Heaney
notes due 2021, 6.875% senior notes due 2018, and 7.25% senior notes due                                                     400 Madison Avenue
2027, 14% Senior Note - 2021                                                 Law Debenture Trust Company                     New York NY 10017                                                 james.Heaney@LAWDEB.com
                                                                                                                             ATTN:
                                                                                                                             515 RUSK AVE
                                                                                                                             SUITE 3516
UNITED STATES TRUSTEE SOUTHERN DISTRICT OF TEXAS                             OFFICE OF THE UNITED STATES TRUSTEE             HOUSTON TX 77002                                                  STEPHEN.STATHAM@USDOJ.GOV
                                                                                                                             Attn: Seth H. Lieberman, Patrick Sibley, & Matthew W. Silverman   slieberman@pryorcashman.com
Counsel to Wilmington Savings Fund Society, FSB, as successor indenture                                                      7 Times Square                                                    psibley@pryorcashman.com
trustee                                                                      Pryor Cashman LLP                               New York NY 10036                                                 msilverman@pryorcashman.com
                                                                                                                             Attn: Craig Wallace
                                                                                                                             2214 Queen Anne Ave N
Top 30 Creditor                                                              ReelWorld Productions Inc                       Seattle WA 98109                                                  craig.wallace@reelworld.com
                                                                                                                             SECRETARY OF THE TREASURY
                                                                                                                             100 F ST NE                                                       SECBANKRUPTCY@SEC.GOV
SECURITIES AND EXCHANGE COMMISSION - HEADQUARTERS                            SECURITIES & EXCHANGE COMMISSION                WASHINGTON DC 20549                                               NYROBANKRUPTCY@SEC.GOV
                                                                                                                             DAVID WOODCOCK REGIONAL DIRECTOR
                                                                                                                             BURNETT PLAZA
                                                                             SECURITIES & EXCHANGE COMMISSION -              801 CHERRY ST STE 1900 UNIT 18
SECURITIES AND EXCHANGE COMMISSION - REGIONAL OFFICE                         FORT WORTH OFFICE                               FORT WORTH TX 76102                                               DFW@SEC.GOV
                                                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                                                                                             BROOKFIELD PLACE
                                                                             SECURITIES & EXCHANGE COMMISSION -              200 VESEY STREET STE 400
SECURITIES AND EXCHANGE COMMISSION - REGIONAL OFFICE                         NY OFFICE                                       NEW YORK NY 10281-1022                                            BANKRUPTCYNOTICESCHR@SEC.GOV
                                                                                                                             Attn: Horacio Gutierrez
                                                                                                                             45 W. 18th Street
                                                                                                                             7th Floor
Top 30 Creditor                                                              Spotify USA, Inc.                               New York NY 10011                                                 legal@spotify.com
                                                                                                                             Attention Bankruptcy Dept
                                                                                                                             P.O. Box 110300
State of Alaska Attorney General                                             State of Alaska Attorney General                Juneau AK 99811-0300                                              attorney.general@alaska.gov
                                                                                                                             Attention Bankruptcy Dept
                                                                                                                             1275 W. Washington St.
State of Arizona Attorney General                                            State of Arizona Attorney General               Phoenix AZ 85007                                                  aginfo@azag.gov
                                                                                                                             Attention Bankruptcy Dept
                                                                                                                             P.O. Box 944255
State of California Attorney General                                         State of California Attorney General            Sacramento CA 94244-2550                                          bankruptcy@coag.gov
                                                                                                                             Attention Bankruptcy Dept
                                                                                                                             Ralph L. Carr Colorado Judicial Center
                                                                                                                             1300 Broadway, 10th Floor
State of Colorado Attorney General                                           State of Colorado Attorney General              Denver CO 80203                                                   Attorney.General@state.co.us
                                                                                                                             Attention Bankruptcy Dept
                                                                                                                             55 Elm St.
State of Connecticut Attorney General                                        State of Connecticut Attorney General           Hartford CT 06106                                                 attorney.general@po.state.ct.us



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                                       DESCRIPTION                                 NAME                                                        ADDRESS                      EMAIL
                                                                                                                Attention Bankruptcy Dept
                                                                                                                Carvel State Office Bldg.
                                                                                                                820 N. French St.
State of Delaware Attorney General                              State of Delaware Attorney General              Wilmington DE 19801                      Attorney.General@state.DE.US
                                                                                                                Attention Bankruptcy Dept
                                                                                                                40 Capital Square, SW
State of Georgia Attorney General                               State of Georgia Attorney General               Atlanta GA 30334-1300                    AGOlens@law.ga.gov
                                                                                                                Attention Bankruptcy Dept
                                                                                                                425 Queen St.
State of Hawaii Attorney General                                State of Hawaii Attorney General                Honolulu HI 96813                        hawaiiag@hawaii.gov
                                                                                                                Attention Bankruptcy Dept
                                                                                                                100 West Randolph Street
State of Illinois Attorney General                              State of Illinois Attorney General              Chicago IL 60601                         webmaster@atg.state.il.us
                                                                                                                Attention Bankruptcy Dept
                                                                                                                Indiana Government Center South
                                                                                                                302 W. Washington St., 5th Floor
State of Indiana Attorney General                               State of Indiana Attorney General               Indianapolis IN 46204                    Constituent@atg.in.gov
                                                                                                                Attention Bankruptcy Dept
                                                                                                                1305 E. Walnut Street
State of Iowa Attorney General                                  State of Iowa Attorney General                  Des Moines IA 50319                      webteam@ag.state.ia.us
                                                                                                                Attention Bankruptcy Dept
                                                                                                                120 SW 10th Ave., 2nd Floor
State of Kansas Attorney General                                State of Kansas Attorney General                Topeka KS 66612-1597                     general@ksag.org
                                                                                                                Attention Bankruptcy Dept
                                                                                                                700 Capitol Avenue, Suite 118
State of Kentucky Attorney General                              State of Kentucky Attorney General              Frankfort KY 40601                       web@ag.ky.gov
                                                                                                                Attention Bankruptcy Dept
                                                                                                                P.O. Box 94095
State of Louisiana Attorney General                             State of Louisiana Attorney General             Baton Rouge LA 70804-4095                ConsumerInfo@ag.state.la.us
                                                                                                                Attention Bankruptcy Dept
                                                                                                                6 State House Station
State of Maine Attorney General                                 State of Maine Attorney General                 Augusta ME 04333-0000                    consumer.mediation@maine.gov
                                                                                                                Attention Bankruptcy Dept
                                                                                                                200 St. Paul Place
State of Maryland Attorney General                              State of Maryland Attorney General              Baltimore MD 21202-2202                  oag@oag.state.md.us
                                                                                                                Attention Bankruptcy Dept
                                                                                                                One Ashburton Place
State of Massachusetts Attorney General                         State of Massachusetts Attorney General         Boston MA 02108-1698                     ago@state.ma.us
                                                                                                                Attention Bankruptcy Dept
                                                                                                                G. Mennen Williams Building, 7th Floor
                                                                                                                525 W. Ottawa St., P.O. Box 30212
State of Michigan Attorney General                              State of Michigan Attorney General              Lansing MI 48909-0212                    miag@michigan.gov
                                                                                                                Attention Bankruptcy Dept
                                                                                                                1400 Bremer Tower
                                                                                                                445 Minnesota Street
State of Minnesota Attorney General                             State of Minnesota Attorney General             St. Paul MN 55101-2131                   Attorney.General@ag.state.mn.us




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                                       DESCRIPTION                                NAME                                                          ADDRESS                      EMAIL
                                                                                                               Attention Bankruptcy Dept
                                                                                                               Supreme Court Building
                                                                                                               207 W. High St.
State of Missouri Attorney General                              State of Missouri Attorney General             Jefferson City MO 65102                    attorney.general@ago.mo.gov
                                                                                                               Attention Bankruptcy Dept
                                                                                                               215 N Sanders, Third Floor
                                                                                                               PO Box 201401
State of Montana Attorney General                               State of Montana Attorney General              Helena MT 59620-1401                       contactdoj@mt.gov
                                                                                                               Attention Bankruptcy Dept
                                                                                                               2115 State Capitol
                                                                                                               2nd Fl, Rm 2115
State of Nebraska Attorney General                              State of Nebraska Attorney General             Lincoln NE 68509-8920                      ago.info.help@nebraska.gov
                                                                                                               Attention Bankruptcy Dept
                                                                                                               100 North Carson Street
State of Nevada Attorney General                                State of Nevada Attorney General               Carson City NV 89701                       AgInfo@ag.nv.gov
                                                                                                               Attention Bankruptcy Dept
                                                                                                               33 Capitol St.
State of New Hampshire Attorney General                         State of New Hampshire Attorney General        Concord NH 03301-0000                      attorneygeneral@doj.nh.gov
                                                                                                               Attention Bankruptcy Dept
                                                                                                               RJ Hughes Justice Complex
                                                                                                               25 Market Street, P.O. Box 080
State of New Jersey Attorney General                            State of New Jersey Attorney General           Trenton NJ 08625-0080                      askconsumeraffairs@lps.state.nj.us
                                                                                                               Attention Bankruptcy Dept
                                                                                                               P.O. Drawer 1508
State of New Mexico Attorney General                            State of New Mexico Attorney General           Santa Fe NM 87504-1508                     publicinformationoff@nmag.gov
                                                                                                               Attention Bankruptcy Dept
                                                                                                               State Capitol
                                                                                                               600 E Boulevard Ave Dept 125
State of North Dakota Attorney General                          State of North Dakota Attorney General         Bismarck ND 58505-0040                     ndag@nd.gov
                                                                                                               Attention Bankruptcy Dept
                                                                                                               1162 Court Street NE
State of Oregon Attorney General                                State of Oregon Attorney General               Salem OR 97301                             consumer.hotline@doj.state.or.us
                                                                                                               Attention Bankruptcy Dept
                                                                                                               P.O. Box 11549
State of South Carolina Attorney General                        State of South Carolina Attorney General       Columbia SC 29211-1549                     info@scattorneygeneral.com
                                                                                                               Attention Bankruptcy Dept
                                                                                                               1302 East Highway 14
                                                                                                               Suite 1
State of South Dakota Attorney General                          State of South Dakota Attorney General         Pierre SD 57501-8501                       consumerhelp@state.sd.us
                                                                                                               Attention Bankruptcy Dept
                                                                                                               P.O. Box 20207
State of Tennessee Attorney General                             State of Tennessee Attorney General            Nashville TN 37202-0207                    consumer.affairs@tn.gov
                                                                                                               Attention Bankruptcy Dept
                                                                                                               Capitol Station
                                                                                                               PO Box 12548
State of Texas Attorney General                                 State of Texas Attorney General                Austin TX 78711-2548                       public.information@oag.state.tx.us




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                                                                                                       First Day Master Service List
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                                       DESCRIPTION                                           NAME                                                   ADDRESS                                           EMAIL
                                                                                                                    Attention Bankruptcy Dept
                                                                                                                    PO Box 142320
State of Utah Attorney General                                              State of Utah Attorney General          Salt Lake City UT 84114-2320                                    uag@utah.gov
                                                                                                                    Attention Bankruptcy Dept
                                                                                                                    109 State St.
State of Vermont Attorney General                                           State of Vermont Attorney General       Montpelier VT 05609-1001                                        ago.info@state.vt.us
                                                                                                                    Attention Bankruptcy Dept
                                                                                                                    State Capitol Bldg 1 Room E 26
State of West Virginia Attorney General                                     State of West Virginia Attorney General Charleston WV 25305                                             consumer@wvago.gov
                                                                                                                    Attention Bankruptcy Dept
                                                                                                                    123 Capitol Building
                                                                                                                    200 W. 24th Street
State of Wyoming Attorney General                                           State of Wyoming Attorney General       Cheyenne WY 82002                                               baylwa@state.wy.us
                                                                                                                    Attn: Roger C. Fray
                                                                                                                    1315 S International Pkwy, Ste 1131
Top 30 Creditor                                                             Sun & Fun Media                         Lake Mary FL 32746                                              roger@sunfunmedia.com
                                                                                                                    Attn: Alex Kneapler
                                                                                                                    888 7th Ave, 35th Floor
Agent for the Debtors’ Receivables Based Credit Facility                    TPG Specialty Lending, Inc.             New York NY 10106                                               AKneapler@tpg.com
                                                                                                                    ATTN: KENNETH MAGIDSON
                                                                                                                    ONE SHORELINE PLAZA SOUTH TOWER
                                                                            UNITED STATES ATTORNEY FOR SOUTHERN 800 N SHORELINE BLVD STE 500
UNITED STATES ATTORNEY FOR THE SOUTHERN DISTRICT OF TEXAS                   DISTRICT OF TEXAS                       CORPUS CHRISTI TX 78401                                         USATXS.ATTY@USDOJ.GOV
                                                                                                                    Attn: Lucian Grainge
                                                                                                                    825 8th Ave 28th Floor
Top 30 Creditor                                                             Universal Music Group Inc               New York NY 10019                                               lucian.grainge@umusic.com
                                                                                                                    Attn: Alfred C. Liggins, III
                                                                                                                    1010 Wayne Ave 14th Fl
Top 30 Creditor                                                             Urban One Inc.                          Silver Spring MD 20910                                          fmiles@urban1.com
                                                                                                                    Attn: President or General Counsel
                                                                                                                    750 Park of Commerce Drive
Top 30 Creditor                                                             Vertical Bridge Acquisitions, LLC       Boca Raton FL 33487                                             ghess@verticalbridge.com
                                                                                                                    Attn: Stephen F. Cooper
                                                                                                                    3400 W Olive Ave
Top 30 Creditor                                                             Warner Music Group Services             Burbank CA 91505                                                steve.cooper@wmg.com
                                                                                                                    Attention Bankruptcy Dept
                                                                                                                    441 4th Street, NW
Washington DC Attorney General                                              Washington DC Attorney General          Washington DC 20001                                             dc.oag@dc.gov
                                                                                                                    Attn: Matt Barr
                                                                                                                    767 Fifth Avenue
Counsel to Equity Holders                                                   Weil, Gotshal & Manges LLP              New York NY 10153-0119                                          matt.barr@weil.com
                                                                                                                    Thomas Lauria and Harrison Denman
Counsel to an ad hoc group of holders of 6.875% senior notes due 2018 and                                           1221 Avenue of the Americas                                     tlauria@whitecase.com
7.25% senior notes due 2027                                                 White & Case LLP                        New York NY 10020-1095                                          hdenman@whitecase.com
                                                                                                                    Attn: J. Christopher Shore, Harrison Denman, & Michele Meises   cshore@whitecase.com
Counsel to Wilmington Savings Fund Society, FSB, as successor indenture                                             1221 Avenue of the Americas                                     harrison.denman@whitecase.com
trustee                                                                     White & Case LLP                        New York NY 10020                                               michele.meises@whitecase.com




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                                       DESCRIPTION                                           NAME                                                     ADDRESS                    EMAIL
                                                                                                                      Attn: Thomas E. Lauria & Jason Zakia
                                                                                                                      Southeast Financial Center, Suite 4900
Counsel to Wilmington Savings Fund Society, FSB, as successor indenture                                               200 South Biscayne Blvd                   tlauria@whitecase.com
trustee                                                                   White & Case LLP                            Miami FL 33131                            jzakia@whitecase.com




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